1
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6     Counsel  for  Defendants
      JEFFREY ALLEN MENTZOS,
7     KURT ANTHONY MILLER
      and ZDENDA KOLARIK.
8

9                     IN THE UNITED STATES BANKRUPTCY COURT

10         FOR THE NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION

11    GLORIA CABRAL,                                  Case No. 18-51575 MEH
12                                                    Chapter 13
                 Debtor.
13                                       Adv. Pro. No. 18-05032
      __________________________________
14
      GLORIA CABRAL,
15                                                    WITHDRAWAL OF MOTION BY
                                                      DEFENDANTS MENTZOS, MILLER AND
                  Plaintiff,                          KOLARIK TO DISMISS ADVERSARY
16
      v.                                              PROCEEDING COMPLAINT
17    JEFFREY ALLEN MENTZOS, KURT
      ANTHONY MILLER, JEANNE MILLER, IVA Hearing
18    MILLER, ZDENKA KOLARIK,            Date: November 9, 2018
                                         Time: 10:00 a.m.
19                                       Place: Courtroom 3020 280 S. 1st SJ
                 Defendants.             Judge: M. Elaine Hammond
20

21
            PLEASE TAKE NOTICE that defendants JEFFREY ALLEN MENTZOS, KURT
22
      ANTHONY MILLER and ZDENDA KOLARIK hereby withdraw their pending Motion to
23
      Dismiss Adversary Proceeding Complaint (Doc#15).
24

25                                               DINAPOLI & SIBLEY

26    Dated: November 6, 2018             By:    /s/ Steven J. Sibley

27                                               STEVEN J. SIBLEY
28
                                                 Counsel to Defendants




Case: 18-05032   Doc# 34       Filed: 11/06/18   Entered: 11/06/18 11:13:44   Page 1 of 1
